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 7 Attorneys for Plaintiff
   Bob Minner
 8

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10
                                  UNITED STATES DISTRICT COURT
11
              NORTHERN DISTRICT OF CALIFORNIA — SAN FRANCISCO DIVISION
12

13
     BOB MINNER,                                        Federal Case No.: 3:16-CV-05696-RS
14
                    Plaintiff,
15
            vs.                                         STIPULATED REQUEST FOR
16                                                      DISMISSAL OF DEFENDANT EQUIFAX,
     EQUIFAX, INC.; et. al.,                            INC.; [PROPOSED] ORDER
17
                    Defendants.
18

19
     TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
20
            IT IS HEREBY STIPULATED by and between plaintiff Bob Minner and defendant
21
     Equifax, Inc. (“Equifax”), that Equifax be dismissed from this action with prejudice pursuant to
22
     Federal Rules of Civil Procedure, section 41(a)(2), and that each party shall bear its own
23
     attorneys’ fees and costs.
24
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25
     //
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     //
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          STIPULATED REQUEST FOR DISMISSAL OF DEFENDANT EQUIFAX, INC.; [PROPOSED] ORDER
         Case 3:16-cv-05696-RS Document 40 Filed 05/26/17 Page 2 of 2



 1 DATED: May 25, 2017                          Sagaria Law, P.C.

 2                                              By:          /s/ Elliot W. Gale
 3                                                                    Elliot W. Gale
                                                Attorneys for Plaintiff
 4                                              Bob Minner
 5
     DATED: May 25, 2017                        Nokes & Quinn
 6

 7

 8                                              By:           /s/ Thomas P. Quinn, Jr.
                                                                   Thomas P. Quinn, Jr.
 9
                                                Attorneys for Defendant
10                                              Equifax, Inc.

11
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this
12
     Stipulation. I hereby attest that Thomas P. Quinn, Jr. has concurred in this filing.
13
     /s/ Elliot Gale
14

15
                                               [PROPOSED] ORDER
16
            Pursuant to the stipulation of the Parties, Equifax is dismissed with prejudice, and that each
17
     party shall bear its own attorneys’ fees and costs.
18
            IT IS SO ORDERED.
19

20
     DATED: 5/26/17
21                                                 RICHARD SEEBORG
                                                   UNITED STATES DISTRICT JUDGE
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          STIPULATED REQUEST FOR DISMISSAL OF DEFENDANT EQUIFAX, INC.; [PROPOSED] ORDER
